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                       UNITED STATES DISTRICT COURT FOR THE
                               DISTRICT OF COLUMBIA

AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT AND ARREST WARRANT

       I, Brendan M. Shelley, being duly sworn, depose and state as follows:

                                      I. INTRODUCTION

       1.      I am a Special Agent employed by the United States Department of Homeland

Security (DHS), Immigration and Customs Enforcement (ICE). I am assigned to ICE Homeland

Security Investigations (HSI) – Washington, D.C. I have been employed as a Special Agent with

ICE since October 2007. I am a graduate of the Federal Law Enforcement Training Center’s

Criminal Investigator Training Program and the ICE Special Agent Training Program. My

duties as a Special Agent for ICE include investigating administrative and criminal violations of

the Immigration and Nationality Act, United States customs laws and other federal criminal

violations to include wire fraud, bank fraud and money laundering. Prior to becoming a Special

Agent, I was an ICE Management and Program Analyst with ICE’s Office of the Principal Legal

Advisor.

       2.      This affidavit is submitted in support of a criminal complaint and arrest warrant

charging that from in or about February 2014 through in or about October 2014, within the

District of Columbia and elsewhere, the defendant Sara Youssef Kassem, engaged in a

conspiracy to violate Title 18, United States Code, Section 1956(h). Specifically, as set forth

below, there is probable cause to believe that Kassem and others did knowingly and intentionally

conspire with other persons known and unknown to knowingly conduct or attempt to conduct

financial transactions with property representing the proceeds of specified unlawful activities

knowing that the transactions were designed in whole or in part to conceal or disguise the nature,

the location, the source, the ownership, and the control of the proceeds of specified unlawful

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activity in violation of 1956(a)(1)(B)(i) and that the criminally derived property involved in

several of the individual transactions was of a value greater than $10,000 and was derived from

specified unlawful activities in violation of 18 U.S.C. § 1957. Probable cause also exists to

establish that the specified unlawful activities engaged in by Kassem and her co-conspirators

include that 1) the co-conspirators willfully and knowingly devised a scheme to obtain money

and property by means of false pretenses, representations, and promises, and for the purpose of

executing the scheme and artifice to defraud, knowingly and intentionally caused to be

transmitted by means of wire in interstate commerce writings, signs, and signals for the purpose

of executing such scheme and artifice to defraud in violation of Title 18 United States Code,

Section 1343; and 2) the defendants knowingly and willfully carried out a scheme to obtain

money or property owned by or under the custody and control of Bank of America for the benefit

of the Kuwaiti Health Ministry by false and fraudulent pretenses in violation of Title 18 United

States Code, Section 1344(2).

       3.      This affidavit is based on my personal observations during the course of this

investigation, information conveyed to me by other law enforcement officials, my review of

records, documents and other physical evidence obtained during this investigation and interviews

of witnesses. This affidavit contains information necessary to support a finding of probable

cause, but does not include each and every fact observed by me or known by the government.

                                     II. THE DEFENDANT

       4.      According to immigration records, Sara Youseff Kassem is a 20-year-old female

who was born in Lebanon. According to witness statements described below, Kassem is known

to be in a personal relationship with Unindicted Co-Conspirator 1 (UCC-1) with whom she

resided at 22 Kincaid Lane, Stafford, Virginia. The location of her residence is corroborated by



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records of Bank of America indicating that she opened an account on or about April 4, 2014 and

listed the address of 22 Kincaid Lane, Stafford, Virginia. According to immigration records

Kassem entered the United States on or about August 12, 2003 on a B1/B2 Non-Immigrant Visa.

According to immigration records, Kassem overstayed her visa in violation of the Immigration

and Nationality Act. These same immigration records indicate that Kassem subsequently applied

for Deferred Action for Childhood Arrivals (DACA). Kassem was granted DACA through June

18, 2015. According to law enforcement databases, Kassem has two vehicles registered to her at

22 Kincaid Lane, Stafford, Virginia. Kassem has listed the address of 323A Wallace Lane,

Fredericksburg, Virginia on applications for at least one bank account.

                            III. BACKGROUND INFORMATION

       5.      According to open sources, the State of Kuwait operates embassies throughout the

world, including an embassy located in Washington, D.C. The Embassy of Kuwait in

Washington, D.C. operates the Kuwait Embassy Health Ministry (also known as the Kuwait

Health Office, also known as the Kuwait Health Division, herein referred to as Heath Ministry).

The Health Ministry is located at 4301 Connecticut Avenue, NW, Suite 330 in Washington, D.C.

       6.      According to open sources and a witness interview described below, the mission

of the Health Ministry is to pay for health care costs incurred by Kuwaiti nationals receiving

medical treatment in the United States. Kuwaiti citizens requiring medical attention sometimes

travel to foreign countries in order to receive medical attention. The Health Ministry’s core

responsibilities are to 1) coordinate care provided by medical service providers, 2) arrange for

medical care providers to be paid with government funds for services provided, and 3) pay

patients and their families a bi-weekly stipend for travel and living expenses. All expenses

associated with the operation of the Health Ministry are paid for by the Government of Kuwait.



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       7.        According to interviews of a witness and other evidence described below, in

2014, the Health Ministry office located in Washington, D.C. was overseen by a Senior Health

Ministry official and a Financial Attaché Hanan Al Sharaf.

       8.        According to Bank of America records, the Health Ministry has maintained a

Bank of America bank account in Washington, D.C. for at least two years, including throughout

2014. The account is funded each month by wire transfers originating from the Kuwaiti

government.

                                      IV. THE CONSPIRACY

       9.        As set forth in this affidavit, there is probable cause to believe that the co-

conspirators identified herein, including Kassem, knowingly conspired to enrich themselves by

embezzling funds from the Bank of America bank account owned by the Kuwaiti government’s

Health Ministry.

       10.       The ways, manner and means by which the conspiracy was carried out included

the following:

                 a. It was part of the conspiracy that members of the conspiracy would use checks
                    drawn on the Health Ministry’s bank account in order to make unauthorized
                    payments to companies that did not provide any services (the “shell
                    companies”).

                 b. It was further part of the conspiracy that members of the conspiracy would
                    create shell companies, using names that closely resembled actual health care
                    providers to make them appear legitimate, in order to conceal embezzlement
                    activity.

                 c. It was further part of the conspiracy that members of the conspiracy would
                    open bank accounts for the shell companies to deposit checks payable to the
                    shell companies drawn on the Health Ministry funds in order to conceal and
                    embezzle funds.

                 d. It was further part of the conspiracy that members of the conspiracy would
                    transfer embezzled funds from the shell company accounts to the bank



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                  accounts of other members of the conspiracy, and distribute embezzled funds
                  in cash payments.

               e. It was further part of the conspiracy that members of the conspiracy would
                  access transaction records of the Health Ministry, including invoices and
                  payment records, in order to edit information associated with prior payments.

       11.     As set forth in this affidavit, more than sufficient probable cause exists to believe

that the co-conspirators agreed to embezzle approximately $2 million in Health Ministry Funds.

The financial records reviewed to date reveal that at least $1.3 million was paid by the Health

Ministry to the co-conspirators through shell companies.

       12.     As set forth below, there is more than sufficient probable cause to believe that

Kassem’s role in the conspiracy included, among other things, receiving and depositing checks

issued by a shell company in whose name money would be fraudulently diverted from the

Ministry of Health. Such checks identified to date include four checks payable to her and drawn

on a shell company that were deposited into her personal account on three different occasions

from in or about March 2014 through in or about April 2014 totaling $26,400.

                                    V. PROBABLE CAUSE

             A. INFORMATION PROVIDED BY SOURCE OF INFORMATION 1

       13. In November 2014, ICE HSI was contacted by a source of information (herein

referred to as SI-1) concerning suspected embezzlement activity at the Kuwait Health Ministry in

Washington, D.C. SI-1 was previously employed as an accountant with the Health Ministry

from approximately June 2013 until September 2014. SI-1 stated SI-1 had knowledge of Health

Ministry employees who were embezzling Health Ministry funds and laundering the stolen

money using various shell corporations.

       14. On November 3, 2014 and again on February 26, 2015, I interviewed SI-1. SI-1

stated in sum and in substance:

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     a. SI-1 was previously employed by the Health Ministry from approximately
        June 2013 until September 2014;

     b. SI-1 reported to the Finance Attaché, Hanan Al Sharaf;

     c. the mission of the Health Ministry is to pay for the health care costs incurred
        by Kuwaiti nationals receiving medical treatment in the United States;

     d. it was not uncommon for Kuwaiti nationals to travel to foreign countries,
        including the United States, in order to receive medical treatment;

     e. Kuwait operates health ministries in several foreign countries, including the
        United States;

     f. Kuwaiti nationals seeking medical attention in the United States work with the
        Health Ministry to prepare a letter guarantying payment of expenses for
        treatment of the person to be issued to the hospital providing the medical care;

     g. the hospitals bill the Health Ministry directly;

     h. the Health Ministry pays the hospital with funds provided by the Kuwaiti
        government;

     i. all payments for medical care are paid with funds from the Health Ministry’s
        bank account;

     j. the Health Ministry’s bank account is funded each month with a wire transfer
        from the Government of Kuwait;

     k. the wire transfers typically range from $25 million to $30 million dollars each
        month, but additional funds can be wired depending on the number of people
        needing medical assistance or other expenses;

     l. the Health Ministry maintains a bank account at a Bank of America branch
        located in the Van Ness neighborhood of Washington, D.C.;

     m. Health Ministry employees are paid by check from the Health Ministry’s
       Bank of America bank account;

     n. SI-1 was originally hired to work at the Health Ministry as an accountant and
        was later tasked by Al Sharaf with conducting an audit of the Health Ministry’s
        expenses;

     o. during SI-1’s audit, SI-1 noticed the Health Ministry’s computerized
        accounting system allowed users to manually edit information associated with



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       previous transactions including a patient’s name, the date of a payment, the
       payee’s information and the amount of money paid;

     p. SI-1 was concerned that individuals with access to the accounting system
        could conceal embezzlement activity by manipulating the information
        associated with the transactions;

     q. SI-1 reported SI-1’s concerns to a Senior Health Ministry official and Al
        Sharaf;

     r. Al Sharaf subsequently hired UCC-1 as an accountant;

     s. prior to the hiring of UCC-1, Health Ministry checks were maintained in a
        central location in order to prevent unauthorized payments from being made;

     t. UCC-1 removed the controls on the Health Ministry checks. After UCC-1 was
        hired, blank Health Ministry checks were not held in a central place but were
        generally accessible to employees;

     u. SI-1 became aware in 2014, that numerous accusations, including accusations
        made by the Senior Health Ministry official, were made that Al Sharaf and
        UCC-1 were involved in embezzlement activity;

     v. UCC-1 admitted orally to SI-1 to conspiring with others, including Al Sharaf,
        to embezzle money from the Health Ministry;

     w. UCC-1 wrote a statement in which UCC-1 admitted to embezzling funds with
       Al Sharaf and others from the Health Ministry and gave a copy of the written
       statement to SI-1. SI-1 understood that the statement was requested by a
       Senior Health Ministry official;

     x. SI-1 witnessed UCC-2 also prepare a written statement in which UCC-2 stated
        he had knowledge of UCC-1 operating UPMC, Hopiken and Med Star—the
        shell companies, among other things. SI-1 signed this statement as a witness;

     y. Al Sharaf instructed SI-1 to call UCC-1 from his cell phone while in the
         Health Ministry Office, located in Washington, D.C. Al Sharaf then took the
         phone and placed it in speaker mode. SI-1 heard Al Sharaf ask UCC-1 for
        “the documents;”

     z. SI-1 said that shortly thereafter, he, and to his knowledge UCC-1 and UCC-2,
        were all terminated from their employment in or about September 2014.
         SI-1 also believes that Al Sharaf was terminated as the Financial Attaché;

     aa. SI-1 said he knew that UCC-1 had a personal relationship with and may be
        married to a young woman.

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       15.     At the conclusion of the interview on November 3, 2014, SI-1 provided me with

several documents, many of which were written in Arabic. One of the documents was a written

statement dated September 17, 2014 which appeared to be signed by UCC-1. SI-1 advised me

that this is a copy of the written statement that he saw UCC-1 author. One of the documents was

a written statement dated September 12, 2014 which appeared to be signed by UCC-2, a Health

Ministry employee. SI-1 advised me that this is a copy of the statement he observed UCC-2

writing, and saw him sign in the offices of the Health Ministry.

       16. On February 26, 2015, SI-1 correctly identified photographs of Al Sharaf, UCC-1,

and UCC-2 after being shown headshot photographs, including a known photo of UCC-1 and a

known photo of UCC-2 and several others persons.

             B. INFORMATION CONTAINED IN THE STATEMENT OF UCC-1

       17. I requested translators assigned to the U.S. Citizenship and Immigration Services

Language Services Section translate the various documents previously provided by SI-1. Based

on my review of the certified translations of the documents, identified as the written statement of

UCC-1, UCC-1 dated September 15, 2014, stated in sum and in substance:

               a. UCC-1 had previously discussed an agreement with Al Sharaf under which
                  UCC-1 would leave the Health Ministry so UCC-1 could open a business that
                  would provide the Health Ministry with medicines;

               b. Al Sharaf advised UCC-1 that UCC-1 could sell medicines while continuing to
                  work at the Health Ministry;

               c. Al Sharaf told UCC-1 that they (UCC-1 and Al Sharaf) could split any profits
                  equally;

               d. Al Sharaf wanted to make sure her name was not mentioned in any
                  transactions so her involvement would not be known to third parties;




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     e. UCC-1 was directed by Al Sharaf to prepare invoices for services that were not
        provided to the Health Ministry and to issue checks in the name of third
        parties. Several of their conversations about this were conducted by writing on
        yellow paper, because according to UCC-1, she thinks her offices are under
        surveillance;

     f. Al Sharaf wanted UCC-1 to provide her with $2 million dollars through the
        embezzlement scheme;

     g. UCC-1 and Al Sharaf agreed Al Sharaf would receive $1 million in cash;

     h. UCC-1 and Al Sharaf agreed to establish shell companies and to create
        fictitious bills from the shell companies to the Health Ministry;

     i. UCC-1 and Al Sharaf agreed even though bills would be sent to the Health
        Ministry, no actual services would be provided;
     j. UCC-1 was not afraid of getting in trouble because UCC-1’s partner in the
       scheme was UCC-1’s superior and the person who approved payments and
       signs checks;
     k. the first shell company (MedStar) received approximately $200,000.00 in
        payments from the Health Ministry;
     l. the second shell company (Hopiken) received approximately $300,000.00 in
        payments from the Health Ministry;
     m. the third shell company (BMC, known to law enforcement as UPMC)
       received approximately $400,000.000 in payments from the Health Ministry;
     n. Al Sharaf went on vacation in September 2014;
     o. when Al Sharaf returned from her vacation, she wanted to know who signed
        the checks in her absence, to which UCC-1 replied that another Senior Health
        Ministry official did;
     p. UCC-1 asked Al Sharaf how she wanted her money, to which Al Sharaf
        replied she would tell UCC-1 later;
     q. Al Sharaf asked for copies of those checks signed by another Senior Health
        Ministry official. UCC-1 stated that Al Sharaf told him that a committee from
        the Ministry would be arriving and that the situation had changed;

     r. in or about September 2014, UCC-1 learned employees of the Health Ministry
        were under investigation by the Kuwaiti government for embezzlement;
     s. Al Sharaf tried to insinuate UCC-1 implicated her (Al Sharaf) in the
        embezzlement scheme by having her sign the checks issued to the shell
        companies;

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              t. UCC-1 gave UCC-2 eight pre-signed but blank checks from a shell company to
                 give to Al Sharaf. UCC-1 advised UCC-2 that ”the whole amount was not
                 there” because people had taken their money and left;
              u. A committee from the Kuwaiti government arrived to investigate the
                 embezzlement in or about September 2014;
              v. After the committee arrived, UCC-1 went to a Senior Health Ministry official
                 and confessed to UCC-1’s and Al Sharaf’s involvement in the embezzlement
                 scheme;
              w. Al Sharaf directed other Health Ministry employees to attempt to conceal her
                involvement in the scheme by changing payment information. Al Sharaf also
                instructed UCC-1 on what to say to the committee.
            C. INFORMATION CONTAINED IN THE STATEMENT OF UCC-2

       18. Based on my review of a document previously identified as the written statement of

UCC-2 dated September 12, 2014, the document stated in sum and in substance:

              a. UCC-2 was employed at the Health Ministry in 2014;

              b. UCC-2 obtained a position at the Health Ministry through UCC-1, who was a
                 family friend;

              c. UCC-1 showed UCC-2 how to create fake invoices and how to steal money
                 using the “KT” system (known to law enforcement as the Health Ministry’s
                 accounting system) but UCC-2 stated that UCC-2 stepped away and refused to
                 help;

              d. UCC-1 asked UCC-2 to show him how to incorporate companies with names
                 similar to companies that provided legitimate services to the Health Ministry;

              e. UCC-2 confirmed that UCC-1 operated shell companies with names that
                 resembled legitimate healthcare providers;

              f. on Monday, September 8, 2014 at approximately 10:00 AM, Al Sharaf came to
                 UCC-2’s desk and instructed UCC-2 to call UCC-1 on UCC-2’s cellular
                 telephone;

              g. UCC-2 placed a call to UCC-1 and handed the phone to Al Sharaf;

              h. Al Sharaf told UCC-2 that she wanted UCC-2 to serve as a witness for the
                 duration of the phone call;

              i. During the phone call, Al Sharaf screamed at UCC-1 to get the “stuff” and told
                 UCC-1 to close the “deal” peacefully;
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              j. Al Sharaf threatened to call the Embassy and the State Department if UCC-1
                 did not get “the stuff;”

              k. Al Sharaf stated to UCC-2 that UCC-1 made a mistake at work and that she
                 was trying to help UCC-1 fix the mistake by returning money;

              l. UCC-2 believed Al Sharaf was trying to hide something;

              m. UCC-2 then spoke with UCC-1, who told him he would return the checks, but
                that most of the checks had already been cashed and that UCC-2 should tell Al
                Sharaf that;

              n. Outside of the office, UCC-1 told UCC-2 that UCC-1 had made an
                 arrangement with Al Sharaf and that UCC-1 and Al Sharaf had previously
                 negotiated percentages and methods by which Al Sharaf would receive money
                 from UCC-1;

              o. after the phone call referenced above, on September 8, 2014, UCC-1 provided
                 UCC-2 with 8 pre-signed blank checks from accounts in the name of one or
                 more shell companies, and an envelope containing more checks;

              p. UCC-2 took a picture of at least one check without UCC-1 noticing;

              q. on Tuesday, September 9, 2014, UCC-2 provided the checks he received from
                 UCC-1 to Al Sharaf who instructed him to deposit the checks;

              r. Al Sharaf stated she wanted to resolve this matter without anybody asking any
                 questions;

              s. UCC-2 identified UPMC Global Services Inc, MedStar Physician LLC and
                 Hopiken Medical LLC as companies owned and operated by UCC-1.


 D. STATEMENTS MADE TO LAW ENFORCEMENT AGENTS BY CO-CONSPIRATOR
                         HANAN AL SHARF

       19.    Hanan Al Sharaf was charged in a one count complaint with engaging in the same

conspiracy involving Walid Aly and others named herein.

       20.    Upon arrest, after Al Sharaf was advised of her rights under Miranda, she made

voluntary statements to law enfordement agents including the undersigned. She stated in sum and

substance that UCC-1 and UCC-2, both of whom she described as employees whom she

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supervised, stole money from the Health Ministry by writing checks to fake companies. She said

that the checks were issued to companies that were controlled by UCC-1 and UCC-2.

According to Al Sharaf, UCC-1 and UCC-2 named the companies they controlled names that

closely resembled legitimate service provider. Al Sharaf suspected UCC-1 and UCC-2 of

manipulating information in the Health Ministry’s accounting system in conjunction with the

payment of Health Ministry funds to the shell companies.

       21.     However, Al Sharaf also denied her involvement and that she received any

benefits from the scheme.

         E. IDENTIFICATON OF SHELL COMPANIES INVOLVED IN POSSIBLE
                          EMBEZZLMENT ACTIVITY

       22. In connection with this investigation, I conducted a search of the Virginia State

Corporation Commission’s (SCC) online database. A search for UPMC Global Services

revealed a record for UPMC Global Care LLC with SCC identification number S5143021.

Records checks revealed UPMC Global Care LLC is a limited liability company incorporated in

the state of Virginia. The date of formation and registration is listed as July 9, 2014. The

principal office is a residence located at 22 Kincaid Lane, Stafford, Virginia, which was the

address of Kassem and UCC- 1. UCC-2 is listed as the organizer and registered agent of UPMC

Global Care LLC.

       23. A search for Hopiken Medical in the Virginia SCC online database revealed a record

for Hopiken Medical Service INT LLC with SCC identification number S5231164. Records

checks revealed Hopiken Medical Service INT LLC is a limited liability company incorporated

in the state of Virginia. The date of formation and registration is listed as September 9, 2014.

The principal office is a residence known to law enforcement in Lorton, Virginia, which is




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believed to be the address of an individual known to the government as Unindicted Co-

Conspirator 3 (herein referred to as UCC-3). The registered agent is listed as UCC-3.

       24. A search for Hopiken Medical revealed a record for Hopiken Medical Service, LLC

with department identification number W15759335. Records checks revealed Hopiken Medical

Service, LLC is a limited liability company incorporated in the state of Maryland. The date of

formation and registration is listed as March 20, 2014. The principal office is located in

Baltimore, Maryland. The registered agent is listed as an individual who is known to the

government as Unindicted Co-Conspirator 4 (herein referred to as UCC-4). A review of the

Articles of Incorporation indicates Hopiken Medical Service LLC was formed to provide

medical transportation services.

       25. On February 18, 2015, I received and subsequently reviewed the Articles of

Organization for Hopiken Medical Service INT LLC from the Virginia SCC. The Articles of

Organization identified UCC-3 as the resident agent of Hopiken Medical Service INT LLC. The

Articles of Organization indicated Hopiken Medical Service INT LLC’s registered office is

located in Lorton, Virginia, which is the residence address of UCC-3.

       26. On February 19, 2015, I conducted a search of the Maryland Department of

Assessments and Taxation Business Services online database. A search of UPMC Global

Services revealed a record for UPMC Global Services LLC with department identification

number W16035115. Records checks revealed UPMC Global Services LLC is a limited liability

company incorporated in the state of Maryland. The date of formation and registration is listed

as August 18, 2014. The principal office is located in Silver Spring, Maryland, which is believed

to be the residence of an individual known to the government as Unindicted Co-Conspirator 5

(herein referred to as UCC-5). The registered agent is listed as UCC-5.



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       27. In the course of the investigation, I conducted a search of the Maryland Department

of Assessments and Taxation Business Services online database, which revealed a record for

Med Star Physician LLC. Records checks revealed Med Star Physician LLC is a limited liability

corporation incorporated in the state of Maryland. The principle office is located in Baltimore,

Maryland. A review of the Articles of Organization indicates that Med Star Physician LLC was

formed to provide transportation services.

F. REVIEW OF BANK RECORDS ASSOCIATED WITH BANK OF AMERICA ACCOUNT

                                   NUMBER XXXXXX0454

       28.     On December 15, 2014, I subpoenaed bank records associated with Bank of

America bank account number XXXXXX0454. Bank of America bank account number

XXXXXX0454 is identified as being associated with the Kuwait Health Office, Embassy of

Kuwait. A review of records associated with the account revealed the Health Ministry is located

at 4301 Connecticut Avenue, NW, Suite 300 in Washington, D.C. a Senior Health Ministry

official and Hanan Sharaf (Deputy Health Attaché for Finance) were identified as signatories on

the account.

       29. SI-1 has stated that UCC-1 and UCC-2 were employed by the Health Ministry. A

review of the checks issued from the Health Ministry’s bank account corroborates that fact, as

checks in similar amounts are issued to these individuals on a bi-weekly basis.

       30.     A review of checks authorizing payment from the Health Ministry’s bank account

revealed payments to the following entities:

                    a. MedStar Physician LLC – Baltimore, Maryland

                    b. UPMC Global Service – Baltimore, Maryland

                    c. Hopiken Medical Services – Baltimore, Maryland



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                    d. MedStar Health TS – Baltimore, Maryland

                    e. Hopiken Medical Services Int – Baltimore, Maryland

       31.     A review of payments originating from the Health Ministry’s Bank of America

bank account to established health care providers revealed payments to Johns Hopkins Medicine,

MedStar and UPMC Global Care. A review of the address information associated with these

payments, and open source public information, indicates Johns Hopkins Medicine, MedStar and

UPMC Global Care are established entities that provide legitimate medical services.

       32.     The Bank of America bank account records reviewed to date revealed that several

checks issued by the Kuwait Health Ministry were deposited in accounts opened in the name of

the shell companies.

    G. REVIEW OF BANK RECORDS ASSOCIATED WITH THE SHELL COMPANIES

       33.     According to a review of bank records from Wells Fargo, an account was opened

in or about March 2014 at Wells Fargo Bank in the name of Hopiken Medical Service Int. The

signatory on the account is UCC-3. The address given for the companies is an address known to

law enforcement in Lorton, Virginia, which is the same address that the bank listed on the

account statements, and is the reported residence address for UCC-3.

       34.     The following list contains a sample of payments made from the Kuwaiti Health

Ministry to Hopiken Medical Services during the period from at least February 2014 to August

2014 during the conspiracy:

                       Date               Account Holder           Amount
                   (On or About)
                      2/24/14        Hopiken Medical Services $8,766.40
                      2/24/14        Hopiken Medical Services $9,074.60
                      2/24/14        Hopiken Medical Services $9,140.70
                      2/24/14        Hopiken Medical Services $9,993.85
                      3/13/14        Hopiken Medical Services $12,657.00
                      4/8/14         Hopiken Medical Services $13,375.62

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                         4/8/14       Hopiken Medical Services       $11,375.62
                         4/8/14       Hopiken Medical Services       $9,860.62
                         8/8/14       Hopiken Medical Services       $57,483.25
                         8/8/14       Hopiken Medical Services       $53,483.25
                         8/9/14       Hopiken Medical Services       $59,483.25

       35.     A review of the Wells Fargo bank records for the account opened in the name of

Hopiken Medical Services Int. revealed that checks drawn on this shell company account were in

turn deposited into the accounts of other members of the conspiracy, including an account at

Bank of America held in the name of Kassem. This account was numbered XXXXXXXX2219.

It was opened by Kassem on or about April 4, 2014 and closed on July 3, 2014. The mailing

address for the account was 22 Kincaid Lane, Stafford, Virginia. The following list contains a

sample of payments made from Hopiken Medical Services to accounts controlled by Kassem,

including the Bank of America account. Each check is endorsed with a unique signature which

closely resembles her signature on her driver’s license issued by the state of Virginia.

             Date of Check Amount             Deposit Bank               Payee
             (On or About)
             March 27, 2014 $4,000           Bank of America            Kassem
                                                                   (linked to UCC-1)
               April 1, 2014      $6,500     Bank of America            Kassem
                                                                   (linked to UCC-1)
              April 18, 2014      $6,900        Unknown                 Kassem
                                                                   (linked to UCC-1)
              April 18, 2014      $9,000        Unknown                 Kassem
                                                                   (linked to UCC-1)


       36.     A review of the Wells Fargo bank records for the account opened in the name of

Hopiken Medical Services Int. revealed that checks drawn on this shell company account were in

turn deposited into the accounts of UCC-1 who is known to be in a personal relationship with

Kassem:

                             Date      Amount                Payee
                         (On or About)

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                            Date       Amount             Payee
                        (On or About)
                        April 16, 2014  $7500             UCC-1
                        April 23, 2014  $8648             UCC-1


       37.    According to the Wells Fargo bank records of the Hopiken Medical Services Int

account, UCC-3 also withdrew cash from the account on the following dates in the following

amounts:

                                     Date         Amount
                                (On or About)
                                March 21, 2014     $2,000
                                March 21, 2014     $5,000
                                March 25, 2014     $5,000
                                March 26, 2014     $1,000
                                 April 2, 2014     $4,000
                                 April 4, 2014     $1,400
                                 April 16, 2014    $2,000
                                 April 17, 2014    $1,400
                                 April 18, 2014    $8,000
                                August 14, 2014    $3,000
                                August 14, 2014   $38,000
                                August 14, 2014   $38,000
                                August 15, 2014    $1,000
                                August 21, 2014   $24,000
                                August 22, 2014    $4,000
                                August 28, 2014    $5,000
                                August 29, 2014    $5,000
                               September 2, 2014   $9,469
                               September 8, 2014 $47,796.74

       38.    The following list contains a sample of payments made from the Kuwaiti Health

Ministry to MedStar Health Services and MedStar Physician LLC. The latter is the shell

company described in paragraph 18 above, and we have not identified official corporate records

for MedStar Health Services. These payments were made during the period from at least March

2014 to August 2014 during the conspiracy:




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                    Date                  Account Holder               Amount
               (On or About)
                   3/5/14             MedStar Health TS               $8,588.06
                   5/5/14           DBA MedStar Health TS             $48,187.50
                   5/5/14           DBA MedStar Health TS             $42,187.50
                   5/5/14           DBA MedStar Health TS             $38,187.50
                  6/30/14         DBA MedStar Health TS Serves        $38,000.00
                  8/19/14           MedStar Physician LLC             $56,904.80
                  8/19/14           MedStar Physician LLC             $64,227.21
                  8/19/14           MedStar Physician LLC             $84,452.90
                  8/19/14           MedStar Physician LLC             $72,815.31

       39.    According to bank records from Wells Fargo, UCC-3 also opened a bank account

in the name of MedStar Health Services. The signatory on the account was UCC-3. The address

given for the company was an address known to law enforcement in Lorton, Virigina, which is

the same address that was listed on the statements for this account. According to the Wells

Fargo records, UCC-3 wrote at least the following checks from the MedStar Health Services

bank account to UCC-1:

                                  Date       Amount        Payee
                              (On or About)
                              August 2, 2014 $4,000        UCC-1
                              August 2, 2014 $6,000        UCC-1
                              August 2, 2014 $6,000        UCC-1

       40.    According to Wells Fargo bank account records reviewed to date, UCC-3

withdrew money from the MedStar Health Services account on the following dates:

                                         Date         Amount
                                   (On or About)
                                    May 13, 2014       $15,000
                                    May 20, 2014       $2,000
                                     July 7, 2014       $1,100
                                    July 14, 2014       $2,300
                                    July 17, 2014       $2,000
                                    July 18, 2014       $9,000
                                    July 21, 2014       $9,000
                                    July 29, 2014       $5,000
                                   August 1, 2014      $5,000


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                                        Date        Amount
                                   (On or About)
                                   August 6, 2014    $1,000
                                   August 7, 2014    $5,000
                                   August 11, 2014   $1,000
                                   August 11, 2014   $4,000
                                   August 28, 2014   $2,000
                                  September 2, 2014 $5,000

       41.     The following list contains a sample of payments made from the Kuwaiti Health

Ministry to UPMC Global, a shell company described in paragraph 18 above, for which UCC-2

is listed as the registered agent and organizer, in August 2014 during the conspiracy:

                         Date             Account Holder           Amount
                     (On or About)
                        8/1/14          UPMC Global Service       $57,860.15
                        8/1/14          UPMC Global Service       $53,184.25
                        8/5/14          UPMC Global Service       $50,566.75
                        8/5/14          UPMC Global Service       $53,690.25
                        8/5/14          UPMC Global Service       $42,087.80
                        8/8/14          UPMC Global Service       $58,483.25
                        8/8/14            UPMC Global             $56,483.25
                        8/8/14          UPMC Global Service       $57,483.25

       42. On or about September 9, 2014, eight UPMC Global Service checks worth

$430,631.15 were deposited into the Health Ministry bank account at a Bank of America branch

located in Washington D.C. This money appears to be an attempt to return the money that was

previously embezzled from the Health Ministry. The checks numbers are sequential and range

from 1001 to 1008. The memo line on the checks reads “Refund.” Each of the checks was dated

August 31, 2014. The checks appear to be signed by UCC-5. This deposit appears to be the

same deposit described by UCC-2 in UCC-2’s written statement which was provided to SI-1.

                                      VI. CONCLUSION

       43.     Based on the above described facts, there is probable cause to believe that Kassem

knowingly conspired with individuals employed by the Kuwaiti Health Ministry in Washington,


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D.C. as well as other individuals known and unknown to violate of Title 18, United States Code,

Section 1956(h). Specifically, Kassem and other individuals knowingly conducted financial

transactions with property representing the proceeds of the specified unlawful activities of bank

fraud (18 U.S.C. § 1344(2)) and wire fraud (18 U.S.C. § 1343) knowing that the transactions

were designed in whole or in part to conceal or disguise the nature, the location, the source, the

ownership, or the control of the proceeds of specified unlawful activity in violation of

1956(a)(1)(B)(i) and that the criminally derived property involved in several transactions was of

a value greater than $10,000 and was derived from specified unlawful activity in violation of 18

U.S.C. § 1957.



                                                      __________________________________
                                                      Brendan M. Shelley, Special Agent
                                                      U.S. Department of Homeland Security
                                                      U.S. Immigration and Customs Enforcement
                                                      Homeland Security Investigations

Sworn to and subscribed to before me
this_____ day of March, 2015




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